            Case 3:94-cr-05763-RJB         Document 323       Filed 02/15/06      Page 1 of 2



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 7
                               UNITED STATES DISTRICT COURT
 8                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
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      UNITED STATES OF AMERICA,
11                                                            Case No. CR94-5763RJB
                            Plaintiff,
12                                                            ORDER RE-NOTING MOTION
        v                                                     FOR APPROVAL OF AGREED
13                                                            LUMP-SUM RESTITUTION
      STEVEN C. YONICH,                                       PAYMENT AND FOR
14                                                            REMISSION OF REMAINING
                            Defendant.                        RESTITUTION OBLIGATION
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17          This matter comes before the court on the Defendant’s Motion for Approval of Agreed

18   Lump-Sum Restitution Payment and for Remission of Remaining Restitution Obligation (Dkt.

19   317). The motion was noted for February 10, 2006. Dkt. 317. No response has been filed,

20   apparently because the attorney appearing for the government is deceased. In order to afford the

21   government an opportunity to respond to the motion so that the court may make a fair

22   determination of the matters raised by the defendant’s motion, the court should re-note the

23   motion. Therefore, it is hereby

24          ORDERED that the Defendant’s Motion for Approval of Agreed Lump-Sum Restitution

25   Payment and for Remission of Remaining Restitution Obligation (Dkt. 317) is RE-NOTED for

26   March 10, 2006. Pursuant to the Local Rules, the response, if any, is due on March 6, 2005. The

27   reply, if any, is due on March 10, 2006.

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     ORDER GRANTING MOTION- 1
           Case 3:94-cr-05763-RJB           Document 323          Filed 02/15/06     Page 2 of 2



 1          The Clerk of the Court is directed to send uncertified copies of this Order to all counsel

 2   of record, to any party appearing pro se at said party’s last known address, and to the United

 3   States Attorney’s Office, Attn: Jeff Sullivan.

 4          DATED this 15th day of February, 2006.

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                                                      A
                                                      Robert J. Bryan
                                                      United States District Judge
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     ORDER GRANTING MOTION- 2
